             Case 2:06-cr-00222-MCE Document 60 Filed 08/02/07 Page 1 of 2


1    DWIGHT M. SAMUEL (CA BAR# 054486)
     A PROFESSIONAL CORPORATION
2    117 J Street, Suite 202
     Sacramento, California 95814
3    916-447-1193
4    Attorney for Defendant
     DOUGLAS FROST
5
6
                               IN THE UNITED STATES DISTRICT COURT
7
                                 EASTERN DISTRICT OF CALIFORNIA
8
9
     UNITED STATES OF AMERICA,       )
10                                   )             NO. 2:06-cr-00222-MCE
                Plaintiff,           )
11                                   )             AMENDED STIPULATION AND
          v.                         )             ORDER
12                                   )
     DOUGLAS FROST,                  )
13                                   )
                Defendant.           )
14   ________________________________)
15
           Defendant, through counsel, and the United States of America, through Assistant U.S.
16
     Attorney Phil Ferrari, agree that the Sentencing and Judgement set for August 2, 2007 at 9:00
17
     am be continued to Thursday, November 8, 2007 at 9:00 am.
18
           Co-Defendant Anthony Washington’s trial has been set for September 24, 2007.
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20
     Respectfully submitted,
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22
23
     DATED: July 30, 2007                          /S/Dwight M. Samuel
24                                                 DWIGHT M. SAMUEL
                                                   Attorney for Defendant
25                                                 Douglas Frost
26
27
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                                                   1
             Case 2:06-cr-00222-MCE Document 60 Filed 08/02/07 Page 2 of 2


1
     DATED: July 30, 2007
2                                             /S/Phil Ferrari
                                              PHIL FERRARI
3                                             Assistant United States Attorney
                                              (Signed per Telephonic authorization)
4
5
6
           IT IS SO ORDERED.
7
8     Dated: August 1, 2007

9
                                           ______________________________
10                                         MORRISON C. ENGLAND, JR.
11                                         UNITED STATES DISTRICT JUDGE

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